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                               IN THE UNITED STATES DISTRICT COURT
                                FOR THE SOUTHERN DISTRICT OF OHIO
                                         EASTERN DIVISION

 UNITED STATES OF AMERICA,                   :     Case No. 2:23-CV-02813-MHW-CMV
                                             :
                           Plaintiff,        :     Judge Michael H. Watson
                                             :
 v.                                          :     Magistrate Judge Chelsey M. Vascura
                                             :
 JOSEPH EARL LUCAS, et al.                   :
                                             :
                           Defendants.       :

                  ORDER GRANTING UNITED OHIO INSURANCE COMPANY’S
                               MOTION TO INTERVENE

         This Matter is before the Court on the Motion to Intervene filed by Intervenor United

 Ohio Insurance Company.

         The Court having reviewed the Motion and Exhibits and finding that the intervenors

 have a substantial interest in the subject of the underlying lawsuit, finds the Motion to

 Intervene is well taken.

         IT IS HEREBY ORDERED that United Ohio Insurance Company is granted leave to

 intervene. And United Ohio Insurance Company shall file its Intervening Complaint for

 Declaratory Judgment within 20 days of the entry of this Order.



                                             _______________________
                                             JUDGE/MAGISTRATE JUDGE


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